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                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 21-1026
                                      ___________________

                                     United States of America

                                                Plaintiff - Appellee

                                                  v.

                     Robert Hill, also known as Robbie, also known as Frijol

                                   Defendant - Appellant
______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                 (4:17-cr-00310-RLW-1)
______________________________________________________________________________

                                           JUDGMENT


Before LOKEN, GRUENDER and GRASZ, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion of this Court.

                                                       April 21, 2022




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans



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Adopted April 15, 2015
Effective August 1, 2015

Revision of Part V of the Eighth Circuit Plan to Implement the Criminal Justice Act of
1964.

V. Duty of Counsel as to Panel Rehearing, Rehearing En Banc, and Certiorari

Where the decision of the court of appeals is adverse to the defendant in whole or in part, the
duty of counsel on appeal extends to (1) advising the defendant of the right to file a petition for
panel rehearing and a petition for rehearing en banc in the court of appeals and a petition for writ
of certiorari in the Supreme Court of the United States, and (2) informing the defendant of
counsel's opinion as to the merit and likelihood of the success of those petitions. If the defendant
requests that counsel file any of those petitions, counsel must file the petition if counsel
determines that there are reasonable grounds to believe that the petition would satisfy the
standards of Federal Rule of Appellate Procedure 40, Federal Rule of Appellate Procedure 35(a)
or Supreme Court Rule 10, as applicable. See Austin v. United States, 513 U.S. 5 (1994) (per
curiam); 8th Cir. R. 35A.

If counsel declines to file a petition for panel rehearing or rehearing en banc requested by the
defendant based upon counsel's determination that there are not reasonable grounds to do so,
counsel must so inform the court and must file a written motion to withdraw. The motion to
withdraw must be filed on or before the due date for a petition for rehearing, must certify that
counsel has advised the defendant of the procedures for filing pro se a timely petition for
rehearing, and must request an extension of time of 28 days within which to file pro se a petition
for rehearing. The motion also must certify that counsel has advised the defendant of the
procedures for filing pro se a timely petition for writ of certiorari.

If counsel declines to file a petition for writ of certiorari requested by the defendant based on
counsel's determination that there are not reasonable grounds to do so, counsel must so inform
the court and must file a written motion to withdraw. The motion must certify that counsel has
advised the defendant of the procedures for filing pro se a timely petition for writ of certiorari.

A motion to withdraw must be accompanied by counsel's certification that a copy of the motion
was furnished to the defendant and to the United States.

Where counsel is granted leave to withdraw pursuant to the procedures of Anders v. California,
386 U.S. 738 (1967), and Penson v. Ohio, 488 U.S. 75 (1988), counsel's duty of representation is
completed, and the clerk's letter transmitting the decision of the court will notify the defendant of
the procedures for filing pro se a timely petition for panel rehearing, a timely petition for
rehearing en banc, and a timely petion for writ of certiorari.




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